              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                   Scott S. Harris
                                                                   Clerk of the Court
                                                                   (202) 479-3011
                               November 8, 2021


Clerk
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, OH 45202-3988
                                                                FILED
                                                             November 9, 2021
      Re: William T. Schmitt, et al.
                                                         DEBORAH S. HUNT, Clerk
          v. Craig M. Stephens, et al.
          No. 21-491
          (Your No. 20-4025)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                         Sincerely,




                                         Scott S. Harris, Clerk
